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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO


 UNITED STATES OF AMERICA,                    )
                                              )
                Plaintiff,                    )    CRIMINAL NO. 18-03475-WJ
                                              )
        vs.                                   )
                                              )
 ROBERT DUNSWORTH,                            )
                                              )
                Defendant.                    )

           ORDER GRANTING UNITED STATES== UNOPPOSED MOTION
       FOR EXTENTION OF TIME TO RESPOND TO DEFENDANTS’ MOTION
                   FOR SUPPRESSION OF STATEMENT

       THIS MATTER came before the Court on the unopposed motion of the United States for

extension of time to answer Defendants’ Motion for Suppression of Statement (Doc 59). The

Court, being otherwise fully advised in the premises, FINDS that the ends of justice are served

by the granting of the continuance sought and that the additional time outweighs the best interest

of the public and Defendant in a speedy trial. The Court finds that the motion is well taken and

will be GRANTED.

       IT IS THEREFORE ORDERED that the United States is granted an extension to April

20, 2020, to file its response to Defendant’s Motion for Suppression of Statement, filed March

23, 2020 (Doc. 59).



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                                                     HON. WILLIAM P. JOHNSON
                                                     CHIEF U.S. DISTRICT JUDGE
